Case 3:14-cv-01982-PGS-TJB Document 36 Filed 11/05/14 Page 1 of 3 PageID: 486




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    In re INTERCLOUS SYSTEMS, INC.                       Civil Action No. 14-cv-.01982 (PGS)(DEA)
    SECURITIES LITIGATION


    THIS DOCUMENT RELATES TO:                                      MEMORANDUM AND
                                                                       ORDER
    ALL ACTIONS




        WHEREAS, this matter having come before the Court on Movant Charles R. Gilbert,

Jr.’s (“Gilbert”) Motion for Appointment as Lead Plaintiff and Approval of Selection of Counsel

 (ECF 12), in which Gilbert seeks an Order of this Court appointing him as lead plaintiff with

respect to the related actions pending before this Court, and approving his selection of Robbins

Geller Rudman & Dowd LLP to serve as Lead Counsel, and Cohn Lifland Peariman Herrmann

& Knopf LLP to serve as Liason Counsel with respect to the pending actions;’ and

        WHEREAS, Gilbert argues, in support of his motion that he be appointed lead plaintiff,

that he is the movant with the largest financial interest in the litigation that also meets the

typicality and adequacy prongs of Federal Rule of Civil Procedure 23; see 15 U.S.C.       § 78u-
4(a)(3)(B)(iii); In re Cendant Corp. Sec. Litig., 265 F.3d 201, 263 (3d Cir. 2001); and



1
  There were, initially, five motions filed in which various movants sought appointment as Lead
Plaintiff with respect to the related actions pending before the Court. Movant Scott Krankler
withdrew his motion on June 6, 2014 (ECF 15); movant Traversari Group effectively withdrew
its application for appointment as lead plaintiff, acknowledging, in its responsive brief filed June
23, 2014 (ECF 21), that it “does not possess the largest financial interest in the relief sought by
the class and, therefore, does not qualify for the [Private Securities Litigation Reform ActJ’s
presumption of adequacy”; for similar reasons, movant Louis Lornartra (“Lomartra”) withdrew
his application for appointment as lead plaintiff on June 30, 2014 (ECF 25). Accordingly, the
only remaining movants seeking appointment as lead plaintiff are Gilbert and QuantX
Management LLP (“QuantX”).
Case 3:14-cv-01982-PGS-TJB Document 36 Filed 11/05/14 Page 2 of 3 PageID: 487




         WHEREAS, Movant QuantX opposes Gilbert’s motion, and further contends that it is

 the presumptive lead plaintiff on the ground that it suffered the largest financial loss as a result of

 the underlying misconduct alleges, and satisfies the typicality and adequacy prongs of Federal

 Rule of Civil Procedure 23; and

        WHEREAS, the typicality analysis to be undertaken by the Court, both at the lead

 plaintiff stage and, later, at class certification, requires that the Court weigh whether the

 presumptive lead plaintiff’s circumstances “are markedly different or the legal theory upon

 which the claims of that movant are based differed from that upon which the claims of other

 class members will perforce be based,” Cendant, 264 F.3d at 265; and

        WHEREAS, the Court finds that substantial questions impinging upon the Court’s

typicality analysis are presented by QuantX’s seemingly unique trading strategy, which

incorporates, among other things, an algorithmic trading approach, complex mathematical

formulae, and other mechanisms and methodologies that do not rely, as the majority of

individual lay investors do, on information made available to the public intended to influence

investor decisionmaking; and

        WHEREAS, the Court finds that QuantX’s unique trading strategy renders it susceptible

to unique defenses that may threaten to become the focus of the litigation, thereby rendering

QuantX atypical of the class; and

        WHEREAS, the Court concludes that, although Gilbert engaged in a large volume of

transactions during the relevant time period, such activity, without more, is insufficient to

support a finding that Gilbert fails to satisfy the typicality and adequacy prongs of Federal Rule

of Civil Procedure 23; and




                                                   2
Case 3:14-cv-01982-PGS-TJB Document 36 Filed 11/05/14 Page 3 of 3 PageID: 488

        WHEREAS, the Court concludes that Gilbert is the movant with the largest financial

 interest in the litigation that also satisfies the typicality and adequacy prongs of Federal Rule of

 Civil Procedure 23;

        IT IS on this 3rd day of November, 2014,

        ORDERED that Plaintiff’s Motion for Appointment as Lead Plaintiff and Approval of

 Selection of Counsel (ECF 12) shall be, and hereby is, GRANTED; Robbins Geller Rudman &

 Dowd LLP shall serve as Lead Counsel, and Cohn Lifland Pearlman Herrmann & KnopfLLP

 shall serve as Liason Counsel with respect to the pending actions; and it is further

        ORDERED that QuantX’s application for appointment as lead plaintiff shall be, and

hereby is, DENIED; and it is further

        ORDERED that movants Lornartra’s and Traversari Group’s Motions to Appoint Lead

Plaintiff, Counsel and Liaison Counsel (ECF 10, 13) shall be, and hereby are, DISMISSED as

moot.



DATED: November 3, 2014




                                                        PETER G. SHERIDAN, U.S.D.J.




                                                   3
